Case 2:13-cr-20371-VAR-LJM ECF No. 171 filed 10/12/17        PageID.3345     Page 1 of 5



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

          Plaintiff,

          v.                                     Criminal Action No.: 13-20371
                                                 Honorable Victoria A. Roberts
 DOREEN M. HENDRICKSON,

         Defendant.
 _______________________

      GOVERNMENT’S MOTION FOR WARNING TO DEFENDANT
    REGARDING POTENTIAL CHARACTERIZATION OF MOTION AS
                 GOVERNED BY SECTION 2255

       The United States of America, by and through undersigned counsel, submits

 the following motion to request that the Court issue an order warning the pro se

 defendant regarding the possible consequences if her Motion for the Stay of

 Execution of Sentence, The Vacating of Her Conviction and Other Relief (Doc. #

 169) is characterized by the Court as within the parameters of 28 U.S.C. § 2255.

       Under 28 U.S.C. § 2255, a federal prisoner seeking release on “the ground

 that the sentence was imposed in violation of the Constitution or laws of the United

 States, or that the court was without jurisdiction to impose such sentence, . . . may

 move the court which imposed the sentence to vacate, set aside or correct the

 sentence.” § 2255(a). Crucially, “[a]ny motion filed in the district court that



                                           1
Case 2:13-cr-20371-VAR-LJM ECF No. 171 filed 10/12/17          PageID.3346      Page 2 of 5



 imposed the sentence, and substantively within the scope of § 2255 . . . is a motion

 under § 2255, no matter what title the prisoner plasters on the cover.” United

 States v. Melton, 359 F.3d 855, 857 (7th Cir. 2004).

       Although the defendant’s motion does not mention § 2255, its substance

 challenges her conviction and seeks a stay of the execution of her sentence “due to

 the Court’s lack of jurisdiction throughout all proceedings.” Doc. # 169 at 1.

 Accordingly, the motion falls within the parameters of § 2255 because it claims

 that “the court was without jurisdiction to impose such sentence.” 28 U.S.C.

 § 2255(a).

       Before construing this pro se defendant’s filing as one seeking relief under §

 2255, the Court should provide the defendant with an opportunity to withdraw or

 amend it. Under the Supreme Court case of Castro v. United States, “the court

 cannot so recharacterize a pro se litigant's motion as the litigant's first § 2255

 motion unless the court informs the litigant of its intent to recharacterize, warns the

 litigant that the recharacterization will subject subsequent § 2255 motions to the

 law's ‘second or successive’ restrictions, and provides the litigant with an

 opportunity to withdraw, or to amend, the filing.” 540 U.S. 375, 377 (2003). See

 also, In re Shelton, 295 F.3d 620 (6th Cir. 2002) (district court must first give pro

 se petitioner notice that a motion may be recharacterized as a § 2255 motion).




                                            2
Case 2:13-cr-20371-VAR-LJM ECF No. 171 filed 10/12/17          PageID.3347     Page 3 of 5



       As noted in Castro, “by recharacterizing as a first § 2255 motion a pro se

 litigant's filing that did not previously bear that label, the court may make it

 significantly more difficult for that litigant to file another such motion.” 540 U.S.

 382. Accordingly, if the defendant wishes to proceed on the claim she filed on

 October 10, 2017, then she should be given notice that a potential

 recharacterization of her filing as a motion under § 2255 means that any additional

 motions of this type will be subjected to the restrictions on subsequent or

 successive § 2255 motions.

       For the foregoing reasons, the government respectfully requests that the

 Court issue an order warning the defendant as follows: (1) her filing at Doc. #169

 may be recharacterized as a § 2255 motion; (2) if she wishes to proceed, then such

 recharacterization of her filing as a § 2255 motion means that any subsequent §

 2255 motion will be subjected to the restrictions on subsequent or successive §

 2255 motions; and (3) if she fails to include all of her claims in an initial § 2255

 motion, she may lose any other claims if she tries to assert them later as subsequent

 or successive § 2255 motions.




                                            3
Case 2:13-cr-20371-VAR-LJM ECF No. 171 filed 10/12/17          PageID.3348     Page 4 of 5



       The government also respectfully requests that the Court order that the

 defendant has an opportunity to withdraw her filing of October 10, 2017, or to

 amend it, so that it contains all of the claims that she believes that she has.

       If the Court issues an order along the lines requested by the government, the

 government also respectfully requests that the defendant be given a short deadline

 to notify the Court as to whether she will seek to withdraw or amend her filing of

 October 10, 2017. A timely response by the defendant under such a deadline will

 inform the government’s response currently due October 24, 2017.



 Dated: October 12, 2017                  Respectfully submitted,

                                          UNITED STATES OF AMERICA
                                          DANIEL L. LEMISCH
                                          Acting United States Attorney

                                          By: /s/ Jeffrey McLellan
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                                            4
Case 2:13-cr-20371-VAR-LJM ECF No. 171 filed 10/12/17        PageID.3349    Page 5 of 5




                          CERTIFICATE OF SERVICE

       I hereby certify that on October 12, 2017, I electronically filed the foregoing

 document with the Clerk of the Court using the ECF system and sent it by email to

 pro se defendant Doreen Hendrickson.


                                        /s/ Jeffrey A. McLellan
                                        Trial Attorney, Tax Division
                                        U.S. Department of Justice




                                          5
